            Case 1:22-cv-00393-TSC Document 7 Filed 06/01/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 AMERICAN CIVIL LIBERTIES UNION                   )
 FOUNDATION OF SAN DIEGO &                        )
 IMPERIAL COUNTIES, et al.,                       )
                                                  )
                Plaintiffs,                       )
                                                  )        Civil Action No. 22-0393 (TSC)
        v.                                        )
                                                  )
 UNITED STATES MARSHALS SERVICE,                  )
                                                  )
                Defendant.                        )
                                                  )

                                  JOINT STATUS REPORT

       Plaintiffs and Defendant, United States Marshals Service (“USMS”), by and through

undersigned counsel, hereby provide the following joint status report.

       1.      This action under the Freedom of Information Act (“FOIA”) was filed by

Plaintiffs on February 14, 2022. ECF No. 1. Plaintiffs seek records related to contracting to

operate the Western Region Detention Facility in San Diego, California.

       2.      There are two requests at issue in this litigation: Requests A and B. The USMS

has completed its searches for both requests. With respect to Request A, the USMS completed

its responsiveness review and determined that approximately 227 pages are responsive.

Although USMS stated in last month’s JSR that it anticipated releasing those records by the end

of May, USMS is in the process of finalizing its review for FOIA exemptions, which it expects

to complete in June. With respect to Request B, USMS has completed its responsiveness review

and determined that 355 records are responsive (approximately 1272 pages). USMS anticipates

processing 250-300 pages from Request B and making its first release from this Request by the

end of July.
           Case 1:22-cv-00393-TSC Document 7 Filed 06/01/22 Page 2 of 3




      3.      The Parties propose to file an additional JSR no later than July 1, 2022.

      4.      A proposed order is enclosed.



Dated: June 1, 2022                           Respectfully submitted,

                                              MATTHEW M. GRAVES, D.C. Bar. #481052
                                              United States Attorney

                                              BRIAN P. HUDAK
                                              Chief, Civil Division

                                     By:       /s/ Sean M. Tepe
                                              SEAN M. TEPE, DC Bar #1001323
                                              Assistant United States Attorney
                                              601 D Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-2533
                                              sean.tepe@usdoj.gov

                                              Counsel for Defendant

                                               /s/ Matthew E. Kelley
                                              MATTHEW E. KELLEY, DC Bar #1018126
                                              Ballard Spahr LLP
                                              1909 K Street, NW, 12th Floor
                                              Washington, DC 20006
                                              (202) 508-1112
                                              kelleym@ballardspahr.com

                                              Counsel for Plaintiffs




                                                 2
          Case 1:22-cv-00393-TSC Document 7 Filed 06/01/22 Page 3 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                    )
 AMERICAN CIVIL LIBERTIES UNION                     )
 FOUNDATION OF SAN DIEGO &                          )
 IMPERIAL COUNTIES, et al.,                         )
                                                    )
                Plaintiffs,                         )
                                                    )         Civil Action No. 22-0393 (TSC)
         v.                                         )
                                                    )
 UNITED STATES MARSHALS SERVICE,                    )
                                                    )
                Defendant.                          )
                                                    )

                                        [Proposed] ORDER

       Upon consideration of the parties’ Joint Status Report, it is hereby ORDERED that the

parties shall file by July 1, 2022, an additional joint status report advising the Court of the status

of this matter, including a recommendation for further proceedings.



       It is SO ORDERED this              day of                                , 2022.

                                                        _________________________________
                                                        Tanya S. Chutkan
                                                        United States District Judge
